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                         Irwin Fritchie Urquhart & Moore LLC
                  Time and Expense Details by Matter 10194.3


                            Inception - 8/2/2021




   Invoice Date       Invoice Number   Invoice Amount          Adjustments


    4/13/2021             83519           $7,830.00               $0.00


    7/13/2021             84984           $1,890.00               $0.00


     Unbilled                             $1,845.00




 Total for 10194.3                         $11,565.00




                                                               Exhibit
                                                                 3-A
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                       Herman re
                           .
04/16/21     EWT       Receipt and review of order granting                 0.10   $225.00     $22.50
                       enrollment o/b/o Herman
04/19/21     EWT       Multiple email exchanges with Ms. Munson             0.10   $225.00     $22.50
                       regarding

04/20/21     EWT       Multiple email exchanges with Ms. Munson             0.10   $225.00     $22.50
                       regarding

04/20/21     EWT       Receipt and review of Donovan's motion for           0.20   $225.00     $45.00
                       leave to file reply, proposed pleading, and
                       order denying same
04/21/21     GAF       Receipt and review of 2 emails from Steve            0.10   $225.00     $22.50
                       Herman and Jim Roy
                                         .
04/21/21     EWT       Receipt and review of Donovan's motion for           0.20   $225.00     $45.00
                       leave to file reply and proposed reply briefing
                       from Ms. Munson
04/21/21     EWT       Receipt and review of briefing order from Ms.        0.10   $225.00     $22.50
                       Munson
04/21/21     EWT       Receipt and review of Donovan's motion for           0.20   $225.00     $45.00
                       clarification and supporting memorandum
04/26/21     EWT       Receipt and review of Donovan's request for          0.20   $225.00     $45.00
                       oral argument and supporting memorandum
04/27/21     GAF       Receipt and review of email from Steve               0.10   $225.00     $22.50
                       Herman re
                                .
04/27/21     GAF       Receipt and review of email from Steve               0.10   $225.00     $22.50
                       Herman re

04/27/21     GAF       Receipt and review of email from K. Munson           0.10   $225.00     $22.50
                       re                                       .
04/27/21     EWT       Multiple email exchanges with Ms. Munson             0.10   $225.00     $22.50
                       regarding

04/27/21     EWT       Receipt and review of judge's order and              0.30   $225.00     $67.50
                       reasons denying Donovan's multiple motions
                       and enjoining him from filing any additional
                       pleadings until court rules
04/27/21     EWT       Multiple email exchanges with Ms. Munson             0.10   $225.00     $22.50
                       regarding

04/27/21     EWT       Receipt and review of e-mail from Ms.                0.10   $225.00     $22.50
                       Munson

04/28/21     GAF       Receipt and review of email from K. Munson           0.10   $225.00     $22.50
                       re                                        .
04/28/21     GAF       Study proposed reply to Donovan's latest             0.10   $225.00     $22.50
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                       filings.
04/28/21     GAF       Receipt and review of email from K. Munson            0.10   $225.00      $22.50
                       re                           .
04/28/21     GAF       Receipt and review of email from Steve                0.10   $225.00      $22.50
                       Herman re

04/28/21     GAF       Email clients re                                      0.10   $225.00      $22.50
                                                  .
04/28/21     GAF       Receipt and review of email from K. Munson            0.10   $225.00      $22.50
                       re
                                .
04/28/21     GAF       Receipt and review of email from Steve                0.10   $225.00      $22.50
                       Herman re                          .
04/28/21     GAF       Receipt and review of 2 emails from Steve             0.10   $225.00      $22.50
                       Herman and Jim Roy re
                                           .
04/28/21     EWT       Receipt and review of e-mail from Mr.                 0.10   $225.00      $22.50
                       Herman with recently filed pleadings by Mr.
                       Donovan
04/28/21     EWT       Multiple email exchanges with clients                 0.20   $225.00      $45.00

04/28/21     EWT       Receipt and review of Donovan's second                0.20   $225.00      $45.00
                       motion for clarification
04/28/21     EWT       Receipt and review of draft reply brief for Mr.       0.20   $225.00      $45.00
                       Juneau from Ms. Munson
04/28/21     EWT       Document preparation re: drafting proposed            1.50   $225.00     $337.50
                       reply in support of motion for sanctions and
                       addressing Donovan's arguments in
                       opposition
04/28/21     EWT       Multiple email exchanges with Ms. Munson              0.20   $225.00      $45.00
                       regarding

04/28/21     EWT       Final revision and file Reply brief                   0.20   $225.00      $45.00
04/28/21     EWT       Receipt and review of order and reasons               0.20   $225.00      $45.00
                       from court ordering Donovan not to file any
                       more pleadings until the court rules on the
                       motion for sanctions
04/29/21     GAF       Receipt and review of email from Steve                0.10   $225.00      $22.50
                       Herman re
                                                                 .
04/29/21     GAF       Study Judge's order re prohibiting Donovan            0.10   $225.00      $22.50
                       from making any further filings.
04/29/21     EWT       Multiple email exchanges with clients                 0.10   $225.00      $22.50
                       regarding

06/08/21     GAF       Receipt and review of email from Steve                0.10   $225.00      $22.50
                       Herman re
                                                                      .
06/08/21     GAF       Receipt and review of email re Steve Herman           0.10   $225.00      $22.50
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                               re

06/08/21       EWT             Receipt and review of order setting oral         0.10          $225.00       $22.50
                               argument on motion for sanctions
06/08/21       EWT             Multiple email exchanges with Ms. Munson         0.10          $225.00       $22.50
                               regarding




                                                   TIMEKEEPER SUMMARY


                                                                    Hours            Rate                  Total
GAF          Fritchie, Gus A                                         2.30            225.00                $517.50
EWT          Trapolin, Edward W.                                     6.10            225.00               $1,372.50

                                               TOTAL                  8.40                                $1,890.00



TOTAL FEES                                                                                                  $1,890.00
TOTAL DISBURSEMENTS                                                                                             $0.00
TOTAL THIS INVOICE                                                                                          $1,890.00
PREVIOUS BALANCE                                                                                            $7,830.00
PAY THIS AMOUNT                                                                                             $9,720.00
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                              Irwin Fritchie Urquhart & Moore LLC
                                      400 Poydras Street Suite 2700
                                         New Orleans, LA 70130
                                          Telephone No. (504) 310-2100
                                             Fax No. (504) 310-2101
                                             Tax ID No. XX-XXXXXXX
__________________________________________________________________________
                                                    April 13, 2021


                                                                                  Client:                    10194
Markel                                                                            Matter:                    00003
Attn: Chad A. Zupke                                                               Invoice #:                 83519
10275 West Higgins Road, Suite 750
Rosemont, IL 60018

RE: Markel/ Brian Donovan vs. Carl Barbier, et al

     Claim # MXXL55703
     Submit in Bottomline Legal-X

 Date        Attorney       Description                                          Hours          Rate     Amount
02/04/21      EWT           Multiple email exchanges with clients                 0.10         $225.00    $22.50
                            regarding co-retention for defense of Mr.
                            Herman and Mr. Roy.
02/05/21      EWT           Receipt and review of Complaint and begin             1.20         $225.00   $270.00
                            review and annotation of same.
02/05/21      EWT           Review case record in Middle District of              0.50         $225.00   $112.50
                            Florida, download filings and rulings.
02/09/21      EWT           Document preparation re: draft motion and             0.10         $225.00    $22.50
                            order for extension of time to file responsive
                            pleadings.
02/09/21      EWT           Document review, reading plaintiff's                  1.80         $225.00   $405.00
                            Complaint and related pleadings.
02/10/21      GAF           Email Chad Zupke re confirming retention.             0.10         $225.00    $22.50
02/10/21      GAF           Receipt and review of 2 emails from Chad              0.20         $225.00    $45.00
                            Zupke and Steve Herman re retaining us for
                            Steve and Herman & Herman.
02/10/21      EWT           Multiple email exchanges with Mr. Herman              0.20         $225.00    $45.00
                            and other clients regarding

02/10/21      EWT           Internet research re:                                 1.40         $225.00   $315.00


02/10/21      EWT           Finish review and annotation of plaintiff's           0.80         $225.00   $180.00
                            Complaint.
02/10/21      EWT           Document review: review MDL docket and                0.40         $225.00    $90.00
                            select filings for download, and review same.
02/10/21      EWT           Legal research re:                                    0.60         $225.00   $135.00
                                                                             .
02/11/21      GAF           Receipt and review of 6 emails from                   0.40         $225.00    $90.00
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02/11/21     GAF       Receipt and review of 4 emails from Steve        0.20   $225.00      $45.00
                       Herman and Jim Roy re
                                                          .
02/11/21     GAF       Email Steve Herman and Jim Roy re                0.10   $225.00      $22.50

                                .
02/11/21     GAF       Receipt and review of 2 emails from Chad         0.20   $225.00      $45.00
                       Zupke and Carolyn Finch re approval of
                       retention.
02/11/21     EWT       Telephone conference with Mr. Herman             0.20   $225.00      $45.00
                       about

02/11/21     EWT       Multiple email exchanges with clients            0.10   $225.00      $22.50
                       regarding
                                 .
02/11/21     EWT       Multiple email exchanges with Mr. Herman,        0.20   $225.00      $45.00
                       Mr. Roy, et al. regarding
                                                           .
02/12/21     GAF       Email Rick Stanley re his handling of case.      0.10   $225.00      $22.50
02/12/21     GAF       Receipt and review of 3 emails from Rick         0.20   $225.00      $45.00
                       Stanley re his handling of case.
02/12/21     GAF       Receipt and review of email from Steve           0.10   $225.00      $22.50
                       Herman re                           .
02/12/21     EWT       Legal research re:                               0.90   $225.00     $202.50

02/12/21     EWT       Multiple email exchanges with clients and        0.20   $225.00      $45.00
                       defense counsel regarding

                                                .
02/15/21     GAF       Receipt and review of 5 emails from Chad         0.30   $225.00      $67.50
                       Zupke and Carolyn Finch re handling of file
                       and splitting billing.
02/22/21     GAF       Receipt and review of 2 emails from Rick         0.10   $225.00      $22.50
                       Stanley re

02/22/21     EWT       Document preparation re: begin drafting          0.70   $225.00     $157.50
                       FRCP letter and accompanying motion.
02/22/21     EWT       Multiple email exchanges with Mr. Stanley        0.10   $225.00      $22.50
                       regarding

02/23/21     GAF       Receipt and review of 9 emails from Mark         0.40   $225.00      $90.00
                       Barbre, Steve Herman, Jim Roy, Rick
                       Stanley re

                                      .
02/23/21     GAF       Two emails to Mark Barbre, Steve Herman,         0.10   $225.00      $22.50
                       Jim Roy, Rick Stanley re

                                                        .
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02/23/21     EWT       Receipt and review of plaintiff's motion to         0.10   $225.00      $22.50
                       dismiss.
02/23/21     EWT       Multiple email exchanges with clients and           0.30   $225.00      $67.50
                       defense counsel re:

                                .
02/23/21     EWT       Legal research re:                                  0.20   $225.00      $45.00


02/23/21     EWT       Document preparation re: drafting                   0.40   $225.00      $90.00
                       memorandum in support of motion for
                       sanctions.
02/23/21     EWT       Legal research re:                                  1.20   $225.00     $270.00


02/23/21     EWT       Multiple email exchanges with Mr. Roy and           0.10   $225.00      $22.50
                       Mr. Herman

                                    .
02/23/21     EWT       Legal research re:                                  0.20   $225.00      $45.00

                                               .
02/26/21     EWT       Document preparation re: drafting                   2.20   $225.00     $495.00
                       memorandum in support of sanctions and to
                       enjoin future filings under court's inherent
                       authority and 28 USC 1927.
03/01/21     EWT       Legal research re:                                  0.40   $225.00      $90.00




03/02/21     EWT       Document preparation re: briefing cases on          0.70   $225.00     $157.50
                       sanctions and injunction for use in motion for
                       sanctions and to enjoin.
03/02/21     EWT       Document preparation re: drafting                   1.30   $225.00     $292.50
                       memorandum in support of motion for
                       sanctions, reviewing and collecting articles
                       written by Donovan to create timeline as to
                       why his claims are unreasonable and
                       untimely.
03/03/21     EWT       Legal research re:                                  0.30   $225.00      $67.50


03/03/21     EWT       Document preparation re: drafting                   1.30   $225.00     $292.50
                       memorandum in support of motion for
                       sanctions.
03/04/21     EWT       Document preparation re: continue drafting          1.20   $225.00     $270.00
                       memorandum in support of motion for
                       sanctions.
03/05/21     GAF       Receipt and review of 2 emails from K.              0.10   $225.00      $22.50
                       Munson re                 .
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03/05/21     EWT       Legal research re:                              0.30   $225.00      $67.50


03/05/21     EWT       Document preparation re: edit and review        1.90   $225.00     $427.50
                       memorandum in support of motion for
                       sanctions and email to clients for review.
03/05/21     EWT       Multiple email exchanges with Mr. Herman        0.10   $225.00      $22.50
                       and Mr. Roy regarding                    .
03/08/21     GAF       Receipt and review of 6 emails from Steve       0.20   $225.00      $45.00
                       Herman and Jim Roy re
                                           .
03/08/21     EWT       Legal research re:                              0.20   $225.00      $45.00


03/08/21     EWT       Multiple email exchanges with Mr. Roy and       0.10   $225.00      $22.50
                       Mr. Herman regarding

03/08/21     EWT       Document preparation re: drafting               0.90   $225.00     $202.50
                       memorandum in support of motion for
                       sanctions to incorporate comments received
                       from Mr. Roy and Mr. Herman.
03/09/21     GAF       Receipt and review of 5 emails from S.          0.20   $225.00      $45.00
                       Herman, J. Roy and K. Munson re


03/09/21     GAF       Edit Motion for Sanctions.                      0.50   $225.00     $112.50
03/09/21     EWT       Document preparation re: editing and            1.60   $225.00     $360.00
                       revising memorandum in support of motion
                       for sanctions

                           .
03/09/21     EWT       Multiple email exchanges with Mr. Herman        0.10   $225.00      $22.50
                       and Mr. Roy regarding


03/09/21     EWT       Legal research re:                              0.40   $225.00      $90.00

                                .
03/10/21     GAF       Email K. Munson re                              0.10   $225.00      $22.50

03/10/21     GAF       Receipt and review of 9 emails from K.          0.30   $225.00      $67.50
                       Munson, J. Roy and S. Herman re
                                                                .
03/10/21     EWT       Receipt and review of e-mails from Mr           0.10   $225.00      $22.50
                       Herman
03/10/21     EWT       Document preparation re: drafting               1.80   $225.00     $405.00
                       memorandum in support of motion for
                       sanctions and to include arguments under
                       the All Writs Act.
03/10/21     EWT       Telephone conference with Ms. Munson            0.10   $225.00      $22.50
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                        regarding
                                 .
03/10/21      EWT       Receipt and review of email from Ms.               0.40   $225.00      $90.00
                        Munson

                                                    .
03/10/21      EWT       Legal research re:                                 0.30   $225.00      $67.50

                                     .
03/10/21      EWT       Edit and review memorandum in support of           0.60   $225.00     $135.00
                        motion for sanctions and for injunction to
                        reorder arguments in light of better
                        understanding of application of two dismissal
                        rule.
03/10/21      EWT       Multiple email exchanges with Ms. Munson           0.10   $225.00      $22.50
                        regarding

03/12/21      EWT       Document preparation re: edit and review           0.20   $225.00      $45.00
                        memo in support of motion for sanctions.
03/12/21      EWT       Multiple email exchanges with Ms. Munson           0.10   $225.00      $22.50
                        regarding                              .
03/15/21      EWT       Multiple email exchanges with Ms. Munson           0.10   $225.00      $22.50
                        regarding

03/16/21      EWT       Telephone conference with Mr. Herman's             0.20   $225.00      $45.00
                        office regarding
03/16/21      EWT       Multiple email exchanges with Ms. Munson           0.10   $225.00      $22.50
                        regarding
                                                .
03/17/21      GAF       Study draft Motion and Memo by Pat Juneau          0.20   $225.00      $45.00
                        for sanctions/injunctive relief.
03/17/21      GAF       Receipt and review of 2 emails from Kathryn        0.10   $225.00      $22.50
                        re

03/17/21      GAF       Email Kathryn re                                   0.10   $225.00      $22.50


03/17/21      EWT       Final edit and revise motion for sanctions,        0.40   $225.00      $90.00
                        check all record cites, etc.
03/18/21      EWT       Multiple email exchanges with clients re:          0.10   $225.00      $22.50
                                                .
03/19/21      EWT       Receipt and review of e-mail from Mr.              0.10   $225.00      $22.50
                        Herman
03/19/21      EWT       Edit and review motion for sanctions to            0.20   $225.00      $45.00
                        address deficiency notice and re-file.
03/23/21      EWT       Receipt and review of Mr. Juneau's Motion          0.10   $225.00      $22.50
                        for Injunctive Relief.
03/29/21      GAF       Receipt and review of email from Steve             0.10   $225.00      $22.50
                        Herman re                .
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03/29/21       EWT             Draft and send email to clients reporting         0.20          $225.00       $45.00


03/30/21       GAF             Receipt and review of email from C. Finch re      0.10          $225.00       $22.50


03/30/21       EWT             Receipt and review of e-mail from Ms. Finch       0.10          $225.00       $22.50




                                                   TIMEKEEPER SUMMARY


                                                                     Hours            Rate                  Total
GAF          Fritchie, Gus A                                          4.50            225.00               $1,012.50
EWT          Trapolin, Edward W.                                     30.30            225.00               $6,817.50

                                               TOTAL                 34.80                                 $7,830.00



TOTAL FEES                                                                                                   $7,830.00
TOTAL DISBURSEMENTS                                                                                              $0.00
TOTAL THIS INVOICE                                                                                           $7,830.00
PAY THIS AMOUNT                                                                                              $7,830.00
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